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                          UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA

UNITED STATESOFAM ERICA,                      )
                                              )
                     Plaintiff,               )
                                              )
                                              )        2:10-CR-216-PMP (LIl.
                                                                           L)
                                              )
DIMITAR DIMITROVS                             )
                                              )
                     Defendant.               )
                       PRELIM INARY O RDER OF FO RFEITURE
       Thiscourtfindsthatonlunezl,2011,defendu tDlM lTAR DlM lTRov pledguill tocor t
0neofaSix-cotmtCriminallndictm entcharginghim withconspiracyinviolationofTitle l8, Unhed
StatesCode,Section371;traftickingin,production,anduseofcounterfeitaccessdevicesinviolation

ofTitle18,United StatesCode,Section 1029(a)(1);possession offilteen ormorecounterfeitand
unauthorized accessdevicesin violation ofTitle l8,United StatesCode,Section 1029(a)(3);and
aggravatedidentifytheftinviolationofTitle18,UnitedStatesCodesSection 1028(a)(1).Docket//1.
       ThisCourtfindsdefendantDIM ITAR DIM ITROV agreedtotheforfeimreofthepropertyset
forth in ForfeitureAllegationsoftheCrim inalIndictm entand the PleaM emorandum .

       ThisCourtfinds,pursuanttoFed.R.Crim.P.32,2(b)(l)and(2),thattheUnited Statesof
Americahasshown therequisitenexusbetweenpropertysetforthin theForfeitureAllegationsofthe
Crim inalIndictmentand the Plea M em orandum and the offenses to which defendantDIM ITAR
D IM ITROV pled guilty.
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                                                                                                             l

     l1!              Thefollowi
                               ngassetsaresubjecttoforfeimrepursuanttoTitle18,UnitedStatesCode,Section $
                                                                                                       1
     2j
      1l
       1 924(d)(1)                                                                                           ;
                   artdTitle28,United StatesCode,Section2461(c);Title 18,UnitedStatesCode,Section j
      1l
     3@l 981(a)(1)(C)andTitle28,UnitedStatesCode,Section2461(c);Title18,UnitedStatesCode, Section
     41 982(a)(2)(A);Title18, United StatesCode,Sections1343,2314,2315,specified unlawf'ulactivities
     5 asdetinedinTitle18,United StatesCode,Sectionsl956(c)(7)(A)and 1961(l)(B);Titlel8,United
     6        StatesCode,Section 371)and Title21,United StatesCode, Section 8534
                                                                               19:
     7                       1.     2008Blaçk,SubaruTribeca,Vm :454W X9017684411321)
     8                       2.     2008 TrackerPro 170 boat,V lN :BUJ01971E708;
     9                       3.     2008 Black,TrailstarBoatTrailer, VIN:4TM 11GE188B001374;
    10                       4.     2008 Silver,AudiA3 VlN :W AUKD78P68A 145019;
    11                       5.     2008 Silver,Subaru lm preza Outback W agon,V lN :.1F10116367811823361;
    12                       6,     2008 W hite,M ercedes Benz 5550, V 1N :1r1E)1E)'
                                                                                   1q(571:
                                                                                         X78A.187996)
    13                       7.     2008 W hiteandBlack,Sea Ray boat,V1N :5ERV4654A 808;
    14                       8.     2008 Black,ShorelanderBoatTrailer,VlN :1M DASNY278A408389;
    15                       9.     2008 Silver,AudiA4,Vm :W AUAF78E98A 114156;
    16                       10.    2007 Silver,Volvo S60,V1N :YV 1R5592572638224)
    17                       1l.    2008 W hite,HyundaiAccent,Vm :KM 11CN46C4817237243;
                                                                                                             1
    18j                      12, BerettaPX4,9mm pistol,serialnumber13X82334;and                              l
         Ik                                                                                                  1
    19                       13. aninpersonamcriminalforfeituremoneyjudgmentof$1,072,297.64inUnited 1
    20                              States Currency.                                                         '
    21                ThisCourtfindsthe United StatesofAm erica is now entitled to, and should,reduce the

    22 aforementionedpropertytothepossessionoftheUnitedStatesofAmerica.
i
j   23                N0W THEREFORE,ITISHEREBY ORDERED,ADJUDGED,AND DECREED thatthe
!
r   24        U nited States of Am erica should seize the aforem entioned property.
    25        ...
    26        ...

                                                               2

         I                                                                                                   !
         l                                                                                                   !
                                                                                                             (
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         1               IT IS FURTHER ORDERED,ADJUDGED,AND DECREED a1lright,title,andinterestof
         2       DIM ITAR DIM ITROV intheaforementionedpropertyisforfeitedarld isvested intheUnited States
         3 ofAm ericaand shallbesafely heldbytheUnited StatesofAmericauntilfurtherorderoftheCourt.
         4               IT IS FURTHER ORDERED,ADJUDGED , AND DECREED theUnited StatesofAmerica
         5 shallpublisllforatleastthirty(30)cortsecutivedaysorttheoftkialinternetgovemmentfodkiture
         6 website,www.forfeiture.gov,noticeofthisOrder, which shalldescribetheforfeited propelly,state p
         7 thetim eundertheapplicablestatutewhenapetition contestingtheforfeituremustbetiled, and state
         8 thenameandcontactinfonnationforthegovenunentattorneytobeservedwiththepetition, pursuant
         9 toFed.R.Crim.P.32.2(b)(6)andTitle21,UnitedStatesCode,Section853(n)(2),
        10               IT IS FU RTHER OR DERED , AD JU DG ED ,AN D D ECREED apetition, ifany,mustbetiled
        l1 with the Clerk oftheCourt,333LasVegasBoulevard South, LasVegas,Nevada 89101.
        12               IT IS FURTHER ORDERED,ADJUDGED , AND DECREED acopy ofthepetition,ifany,
        13 shallbe served upon the AssetForfeittlre Attorney ofthe United StatesAttorney's Oftice atthe
        14       following addressatthe time ofIiling:
        l5               DANIEL G.BOGDEN
                         UnitedStatesAttorney                                                                j
        16               Nevada StateBarNo.2137                                                              j
          .
                         M ICHAEL A .HUM PHREYS                                                              ;
        17               AssistantUnited StatesAttorney
                         Lloyd D .GeorgeUnited StatesCourthouse
        18               333 LasVegasBoulevard South,Suite5000
                         LasV egas,N evada 89101
        19               Telephone:(702)388-6336
                         Facsimile:(702)388-6787
        28
        21               IT IS FURTHER ORDERED,ADJUDGED , AND DECREED thenotice described herein
        22 neednotbe published in the eventa Declaration ofForfeitureisissuedby the appropriateagency
i       23 .,.
        24       . . .                                                                                       1
             i                                                                                               é
        25       ...                                                                                         k
        26       ...

                                                            3
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follow ing publication ofnoticeofseizureand intentto adm inistratively forfeitthe above-described
property.
        D A TED this   J/ïk dayof                        ,   2O1l.



                                                   D TATES DISTRICT JUDGE




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